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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------- x
573 FORDHAM DENTAL P.C. ET AL,                                    :
                                            Plaintiffs,           :                    11/5/2020
                                                                  :
                 v.                                               :  1:20-cv-08847-ALC
                                                                  :  ORDER
THE HARTFORD FINANCIAL SERVICES                                   :
GROUP INC. ET AL,                                                 :
                                                                  :
                                            Defendants.           :
                                                                  :
----------------------------------------------------------------- :
                                                                  :x
ANDREW L. CARTER, JR., District Judge:

        The Court is in receipt of the Parties’ letters regarding a motion for remand. ECF Nos. 5,

7-8. The Court hereby WITHDRAWS its October 27, 2020 Order to Show Cause, ECF No. 4. The

Parties are Ordered to brief a motion for remand on the schedule set forth in Defendant’s October

27, 2020 letter, ECF No. 5:

                       Motion to Remand November 23, 2020

                       Opposition December 17, 2020

                       Reply January 4, 2021

The Clerk of Court is directed to close the letter motion at ECF No. 5.

SO ORDERED.
Dated: November 5, 2020
      New York, New York


                                                               ANDREW L. CARTER, JR.
                                                               United States District Judge
